                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

COLONY INSURANCE COMPANY,                         )
                                                  )
                      Plaintiff,                  )
               v.                                 )
                                                  )
CHARLES A. PETERSON; EVERGREEN                    )
COMPOSITE TECHNOLOGY, LLC; and                    )
RANDOLPH BANK AND TRUST COMPANY,                  )
                                                  )
                      Defendants and              )              10cv581
                      Third-party Plaintiffs,     )
               v.                                 )
                                                  )
EDWARDS L. CLAYTON, JR. and                       )
HPB INSURANCE GROUP, INC.                         )
                                                  )
                      Third-party Defendants.

                                                ORDER

       On May 22, 2012, the United States Magistrate Judge’s Recommendation was filed

[Doc. # 138] as to various motions submitted by Colony Insurance Company, Charles A.

Peterson, Evergreen Composite Technology, LLC, Randolph Bank and Trust Company, Edward

L. Clayton, and HPB Insurance Group. All parties timely filed objections to the

Recommendation [Doc. # 147, # 148, # 150, # 151]. The Court has conducted a de novo

review of those issues to which an objection was made. With one exception, the Magistrate

Judge’s well crafted recommendation is adopted for the reasons artfully set out in that opinion.

       The one exception relates to Randolph Bank’s status as a mortgagee under Evergreen’s

insurance policy with Colony. The Magistrate Judge rightly concluded that if Randolph Bank is

an innocent mortgagee, its rights under the policy’s mortgageholders provision would survive

the policy’s rescission. [Doc. #138 at 48-50]. This conclusion is well supported by both the logic

of North Carolina cases and clear holdings from other jurisdictions that take a similar approach

to standard mortgageholders clauses. See, e.g. Nationwide Mut. Ins. Co. v. Hunt, 488 S.E.2d


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339, 340-341 (S.C. 1997) (rejecting insurance company’s argument that because a policy “was

obtained through fraud, intentional concealment, and misrepresentation” by the insured, “the

policy was void ab initio, and there was no coverage for Mortgagee” under a standard

mortgageholders clause); Norwest Morg. Inc. v. National Mutual Fire Ins Co., 718 So.2d 15 (Ala.

1998) (same).

       However, at this stage it is unclear whether Randolph Bank is actually an innocent

mortgagee. Randolph Bank admits that it initiated the process leading to Colony’s issuance of

the force-placed insurance policy on Evergreen’s property. [Doc. # 10 at ¶ 23]. Further, as the

Magistrate Judge explained, a jury could find that the insurance application and supplement

ultimately sent to Colony contained material misrepresentations that would permit Colony to

rescind the policy as to Evergreen under N.C. Gen. Stat. § 58-3-10. [Doc. # 138 at 32-38]. If a

jury likewise finds that Randolph Bank functioned as the actual insurance applicant for that

policy, or was otherwise responsible for the misrepresentations contained in the application and

supplement, then Randolph Bank will no longer benefit from the protected status it would

typically receive under a mortgageholders clause. Since there is a material question of fact as

to whether Randolph Bank bears responsibility for any misrepresentations contained in the

application and supplement, summary judgment is not granted on the issue of its ability to

collect on the policy in the event of rescission.

       As such, the Magistrate Judge’s Recommendation is ADOPTED as to all motions except

Randolph Bank’s Motion for Partial Summary Judgment as Against Plaintiff. That motion [Doc.

# 95] is DENIED.

       This, the 24th day of September, 2012.



                                                              /s/ N. Carlton Tilley, Jr.
                                                            Senior United States District Judge


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